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                       United States District Court
                        Northern District of Texas
                            Amarillo Division
STATE OF TEXAS,
   Plaintiff,
v.
ALEJANDRO MAYORKAS, in his official               Case 2:22-cv-00094
 capacity as Secretary of Homeland
 Security, et al.,
  Defendants.

                        Declaration of Sheri Gipson
     1. My name is Sheri Gipson. I am over the age of 18 and fully competent

in all respects to make this declaration. Each statement in this declaration is

within my personal knowledge.

     2. I am the Chief of the Texas Department of Public Safety (“DPS”) Driver

License Division. In this capacity, I oversee DPS’s issuance of driver licenses

and identification cards to residents of the State of Texas.

     3. I was appointed to my current position and confirmed by the Texas

Public Safety Commission in February 2020. Before that, I served as Assistant

Chief of the Driver License Division from March 2016 through February 2020.

I have worked for the Driver License Division of DPS for 39 years.

     4. An individual applying for an original driver license “who is not a

citizen of the United States must present to [DPS] documentation issued by

the appropriate United States agency that authorizes the applicant to be in the

United States before the applicant may be issued a driver’s license.” Tex.

Transp. Code § 521.142(a). DPS “may not deny a driver’s license to an

applicant who provides documentation described by Section 521.142(a) based

on the duration of the person’s authorized stay in the United States, as

indicated by the documentation presented….” Id. § 521.1425(d).
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    5. An individual applying for an original personal identification

certificate “who is not a citizen of the United States must present to [DPS]

documentation issued by the appropriate United States agency that authorizes

the applicant to be in the United States.” Tex. Transp. Code § 521.101(f-2).

DPS “may not deny a personal identification certificate to an application who

complies with Subsection (f-2) based on the duration of the person’s authorized

stay in the United States, as indicated by the documentation presented….” Id.

§ 521.101(f-4).

    6. If an individual presents documentation issued by the federal

government showing authorization to be in the United States (such as an

Employment Authorization Document), and otherwise meets eligibility

requirements, DPS will issue a limited-term driver license or personal

identification certificate to a non-citizen resident of Texas. A license or

identification certificate issued to such an applicant is limited to the term of

the applicant’s lawful presence, which is set by the federal government when

it authorizes that individual’s presence. In fiscal year 2019 (September 2018

through August 2019), DPS issued 386,898 limited-term licenses and

identification certificates. In fiscal year 2020 (September 2019 through August

2020), DPS issued 304,031 limited-term licenses and identification certificates.

Driver license and identification card transactions for FY 2020 were impacted

by office closures and reduced customer capacity in offices due to the pandemic.

In fiscal year 2021 (September 2020 through August 2021), DPS issued

363,288 limited term licenses and identification certificates.

    7. For each non-citizen resident of Texas who seeks a limited term driver

license or personal identification certificate, DPS verifies the individual’s

lawful presence status with the United States government using the

Systematic Alien Verification of Entitlements (“SAVE”) system. The State of
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Texas currently pays $0.30 per customer for SAVE verification purposes.

Approximately 18% of customers must complete additional SAVE verification

at $0.50 per transaction.

     8. For each non-United States citizen resident of Texas who seeks a

limited term driver license, DPS verifies the individual’s social security

number and that person’s eligibility through Social Security Online

Verification (“SSOLV”) and the American Association of Motor Vehicle

Administrators’ (“AAMVA”) Problem Drivers Pointer System (“PDPS”) and, if

applicable, the Commercial Driver License Information System (“CDLIS”). The

State of Texas currently pays $0.05 per customer for SSOLV and PDPS

verification purposes. There is a cost of $0.028 for CDLIS verification purposes,

which is about 2% of all limited-term licenses.

     9. Each additional customer seeking a limited term driver license or

personal identification certificate imposes a cost on DPS. DPS estimates that

for an additional 10,000 driver license customers seeking a limited term

license, DPS would incur a biennial cost of approximately $2,014,870.80. The

table below outlines the estimated costs that DPS would incur based on the

additional number of customers per year for employee hiring and training,

office space, office equipment, verification services, and card production cost.

                      Additional     Biennial Cost for
Ct~~omer  Additional Office Space Additional Employees, Biennial Cost for
                                                                          Biennial Cost for    Total Cost to
Volume    Employees    Required                           Verification
                                   Leases, Facilities and                 Card Production          DPS
Scenario   Required (SqFt) (96 per                          Services
                                         Technology
                      employee)
   10,000     9.4        902.4        l   l ,978,859.60    $9.011.20         $27.000.00       $2.,014.870.80
   20,000    18.8       1,804.8       $3,957,719.20       SlS ,022.40        $54,000.00       $4,029.741.60
   30,000    28.2        2.707.2      $5 ,936,578.80       $27.033.60        $81.000.00       $6,044.612.40
   40,000    37.6        3,609.6      ,1, 7,915,438.40     $36 044.80       $ l 08.000.00     $8.059.483.20
   50,000    46.9        4,502.4      $9,894,298.00       S45,056.00        $135,000.00       SI0,074.354.00
  100,000    93 .9      9,014.4      $19,788,596.01        $90 112.00       S270.000.00       S20. 148.708 0 l
  150.000   140.8       13,516.8      $29,682,894.01      Sl35J68.00        S405.000.00       S30.223.062.01
  200.000   187.8       18,028.8      $39,577,192.01      Sl S0.224.00      S540.000.00       S40,297.416.0 l

For every 10,000 additional customers above the 10,000-customer threshold,
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DPS may have to open additional driver license offices or expand current

facilities to meet that increase in customer demand.

    10. Standard-term licenses issued to most citizens are valid for eight years

with an allowance to renew online once after an office visit. Therefore, most

license holders only have to visit a driver license office once every sixteen years.

Because limited-term licenses are limited to the term of the applicant’s lawful

presence, it is possible for individuals to have to renew their limited-term

license sixteen or more times during the same sixteen-year span. The

frequency of renewing the license would depend on the length of time the

appropriate United States agency authorizes the applicant to be in the United

States. Every renewal for a limited-term license requires an additional in-

person visit to a DPS facility and therefore requires additional costs related to

employee hiring and training, verification of lawful presence status through

the SAVE system, office space, office equipment, and infrastructure. Thus, the

estimated costs identified above that DPS would incur would only increase as

more limited term licenses are issued.

    11. The added customer base that may be created by an increase in the

number of individuals authorized to be in the United States who chose to reside

in Texas will substantially burden driver license resources without additional

funding and support.

        I declare under penalty of perjury that the foregoing is true and
        correct. Executed on May 23, 2022.



                                         Sheri Gipson
